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IN THE UNITED STATES DISTRICT COURT

FOR THE NORTHERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,

Plaintiff,
Vs. Case No. 09-CR-43-SPF

LINDSEY KENT SPRINGER,

Defendant.

UNITED STATES RESPONSE IN OPPOSITION TO DEFENDANT'S
MOTION FOR RELEASE UNDER THE FIRST STEP ACT
(DOCS. 669 and 671)

The United States of America, by and through its attorneys, R. Trent
Shores, United States Attorney for the Northern District of Oklahoma,
Jeffrey Gallant, Assistant U.S. Attorney, and Charles A. O'Reilly, Special
Assistant U.S. Attorney, hereby responds in Opposition to Mr. Springer’s
Motion to Reduce Sentence Pursuant to 18 U.S.C. § 3582(c)(1)(A)G) and
Krrata Sheet (Doc. Nos. 669 and 671). The Court should deny Mr. Springer’s
motion because he is not eligible for relief under the First Step Act.

Relevant Background

1. This Court sentenced Springer to 15 years in prison for tax
crimes.

In 2009, a grand jury indicted Mr. Springer and a co-defendant,

charging each with conspiracy to defraud the United States and tax evasion.
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(Doc. 2). After a jury convicted Mr. Springer and his co-defendant, this Court
sentenced each of them to fifteen years imprisonment. (Docs. 337 and 338). In
sentencing the defendants, the Court observed that “I don't think that there
is any real possibility that either one of these defendants will change their
ways as a result of incarceration. Incarceration and possibly supervised
release will essentially be an interruption, albeit a lengthy interruption, in
your criminal way of life.” The Court also stated that it had “tried to find
even a thin strand of truth or integrity to your conduct or your way of life. It
is not there, Not even a speck. There is not even a plausible basis upon which
you might have deluded yourself into thinking that you are anything but
complete frauds and predators.” (Transcript of Sentencing Hearing, Doc. 403,
p. 57 lines 12 to 17 and p. 58 lines 4 to 9).

Mr. Springer appealed his convictions and sentence, and the Tenth
Circuit affirmed. United States v. Springer, 444 F.App’x 256 (10th Cir. 201 1).
While his direct appeal was pending, Mr. Springer filed two more appeals,
which the Tenth Circuit summarily rejected. Id. at 266-67.

2, Springer has filed numerous challenges to his conviction and
conditions of confinement, as well as many civil lawsuits.

In 2013, Mr. Springer filed a § 2255 motion alleging 76 grounds for

relief. This Court dismissed many of the grounds as procedurally barred, and

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denied the remaining grounds on their merits. (Docs. 537 and 585).

Mr. Springer sought to appeal, but the Tenth Circuit denied him a certificate
of appealability and dismissed his appeal. (Doc. 599). Mr. Springer also
sought to set aside the district court’s judgment based on alleged fraud on the
court, but this Court concluded that he had shown no such fraud, and denied
his motion. (Doc. 645).

Mr. Springer has accumulated “a long history of filing meritless federal
actions and appeals pro se,” and has repeatedly been sanctioned by courts for
frivolous filings. Springer v. I.LR.S. ex rel. U.S., 231 F.App’x 793, 802
(10th Cir. 2007) (listing frivolous, sanctioned, and dismissed cases). Based on
Mr, Springer’s “abusive pattern of filing frivolous or malicious actions and
appeals pro se,” the Tenth Circuit restricted his access to the courts,
requiring him to follow several steps to obtain permission to proceed pro se.
Id. at 803. The filing restrictions have not made Mr. Springer a less prolific
litigant: at the time of a 2015 appeal, the Tenth Circuit’s docket listed 75
related appeals, including a Fifth Circuit appeal of a habeas petition filed in
his district of incarceration, See Tenth Cir. Case No. 15-5109, Gov’t Opening

Br. at 5; Springer v. Chapa, 608 F.App’x 258 (5th Cir. 2015) (unpublished).
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3. Among Mr. Springer’s lawsuits is an asbestos-related habeas
claim recently dismissed by the Northern District of Texas.

In his most recent motion in the Northern District of Texas,
Mr. Springer raised claims challenging the conditions of his confinement in
Seagoville, Texas. Springer v. Underwood, 2019 WL 3307220 (N.D.Tex.
June 2019). Specifically, Mr. Springer alleged that he was being exposed to
“cancer causing asbestos and breath-taking mold.” Jd. A United States
Magistrate Judge recommended that Mr. Springer’s motion be dismissed,
noting that although he characterized his lawsuit as a habeas action, “his
allegations — that exposure to asbestos and mold while incarcerated violated
the Eighth Amendment — must be pursued under Bivens” v. Six Unknown
Named Agents of Federal Bureau of Narcotics, 403 U.S. 388 (1971). (See
Springer v. Underwood, 2019 WL 3307220 at *2), The magistrate judge noted
that the fact that Mr. Springer sought a reduction in his sentence as relief
did not “convert his civil claims to habeas claims.” Over Mr. Springer’s
objection, the district court adopted the magistrate judge’s recommendation,
and dismissed Mr. Springer’s action. (Springer v. Underwood,
2019 WL 336130 (N.D.Tex. July 2019)). On August 30, 2019, Mr. Springer

filed an appeal from that decision to the Fifth Circuit; that appeal is pending.
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4, Mr. Springer now seeks relief from his sentence
under the First Step Act of 2018.

Mr. Springer has now filed a motion before this Court, seeking
compassionate release under 18 U.S.C. § 3582(c)(1)(A), pursuant to recent
amendments to that section under the First Step Act of 2018. (Docs. 669
and 671). Specifically, Mr. Springer asserts that he is entitled to
compassionate release because his “exposure to Cancer Causing Asbestos and
Breath-Taking Mold” constitute extraordinary and compelling reasons under
18 U.S.C. § 3553(a) and the Sentencing Commission’s policy statement in
U.S.8.G. § 1B1.13. As explained below, Mr. Springer does not meet the
prerequisites for filing such a motion, let alone demonstrate extraordinary
and compelling reasons warranting his immediate release.

Argument and Authorities

I. The First Step Act permits sentence reductions only for
“extraordinary and compelling reasons.”

The First Step Act took effect December 21, 2018, adopting a variety of
criminal justice reforms, including a change to the Compassionate Release
provision in 18 U.S.C. § 3582 (c)(1)(A). First Step Act of 2018, Pub.

L. 115-391, 132 Stat. 5194 (2018). Previously, that statute identified an
exception to the general rule that sentences may not be modified once
imposed. It had allowed a district court to modify a defendant’s sentence if,

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after the Director of the Bureau of Prisons filed a motion seeking a

modification, the court considered the § 3553(a) factors, and found either

(i) “extraordinary and compelling reasons” or (ii) that an elderly defendant

had served at least 30 years of a mandatory life term under § 3559(c) and did

not pose a danger to the community, and that the reduction was “consistent

with applicable policy statements issued by the Sentencing Commission.”

The First Step Act provides an avenue for seeking compassionate relief

under 18 U.S.C. § 3582(c)(1)(A) when the Director of the Bureau of Prisons

had failed to do so. The amended statute states:

(c)

Modification of an imposed term of imprisonment. --The court
may not modify a term of imprisonment once it has been imposed
except that --

(1) inany case --

(A)

the court, upon motion of the Director of the Bureau
of Prisons, or upon motion of the defendant after the
defendant has fully exhausted all administrative
rights to appeal a failure of the Bureau of Prisons to
bring a motion on the defendant's behalf or the lapse
of 30 days from the receipt of such a request by the
warden of the defendant's facility, whichever is
earlier, may reduce the term of imprisonment (and
may impose a term of probation or supervised release
with or without conditions that does not exceed the
unserved portion of the original term of
imprisonment), after considering the factors set forth
in section 3553(a) to the extent that they are
applicable, if it finds that--

(i) | extraordinary and compelling reasons warrant
such a reduction; or

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Gi) the defendant is at least 70 years of age, has
served at least 30 years in prison, pursuant toa
sentence imposed under section 3559(c), for the
offense or offenses for which the defendant is
currently imprisoned, and a determination has
been made by the Director of the Bureau of
Prisons that the defendant is not a danger to
the safety of any other person or the
community, as provided under section 3142(g);

and that such a reduction is consistent with applicable policy
statements issued by the Sentencing Commission.

18 U.S.C. § 3582(c)(1)(A).
Il, Mr. Springer has failed to exhaust his administrative rights by

asking BOP to file a compassionate release motion, or to appeal
its failure to do so.

In permitting inmates to file their own compassionate release motions
under § 3582(c)(1)(A), the First Step Act “did not alter the requirement that
prisoners must first exhaust administrative remedies before seeking judicial
relief.” See, e.g., United States v. Guzman, 2019 WL 3892416 at *2 (E.D.Ky
Aug. 19, 2019); United States v. Telfair, 2019 WL 4200440 at *2 (D.N.J
Sept. 4, 2019) (unpublished). Specifically, § 3582(c)(1)(A) now provides that
district courts may reduce a defendant’s sentence “upon motion of the
defendant after the defendant has fully exhausted all administrative
rights to appeal a failure of the Bureau of Prisons to bring a motion on the

defendant's behalf.” Id. (emphasis added). The movant bears the burden of
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proving that that he has satisfied the procedural prerequisites for judicial
review. 18 U.S.C. § 3582(c)(1)(A); see United States v. Butler, 970 F.2d 1017,
1026 (2d Cir. 1992) (“A party with an affirmative goal and presumptive
access to proof on a given issue normally has the burden of proof as to that
issue.”).

Here, Mr. Springer does not allege or even suggest that he has asked
the Bureau of Prisons to file a compassionate release motion on his behalf in
the first instance, let alone exhausted his administrative rights to appeal its
failure to bring such a motion. Instead, he attaches 100 pages of exhibits
containing multiple copies of his “Request for Administrative Remedy,” his
Regional Administrative Remedy Appeal,” his “Central Office Administrative
Remedy Appeal,” and associated documents. Notably, in his initial complaint,
Mr. Springer sets for the remedy he sought through that process:

“(1) $2,000,000 for violating 8th Amendment, (2) $2,000,000 for loss of
capacity of life in the future, pain, and mental anguish, (3) medical/dental
coverage for life, (4) 93.3 months credit since 4/2017).” (Doc. 669 at 31).
Nowhere in his administrative remedy proceedings does Mr. Springer
mention compassionate release, § 3582(c)(1)(A), or the First Step Act. Thus,

none of the attachments demonstrates that he has requested that the Bureau
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of Prisons file a motion for compassionate release on his behalf, that they
have failed to do so, or that he has exhausted his administrative remedies by
appealing any failure to do so. Therefore, Mr. Springer’s motion for
compassionate release does not meet the initial requirements of

§ 3582(c)(1)(A), and should be denied for that reason alone.

IiI. Areduction in Mr. Springer’s sentence would inconsistent with
the Sentencing Commission’s applicable policy statements.

A, The First Step Act did not change the standards for
compassionate sentence reductions.

Although the First Step Act amended § 3582(c)(1)(A) to permit inmates
to file their own motions seeking compassionate release, it did not alter the
requirements for granting such a motion. Significantly, in order to grant
compassionate release motions, courts must still find either that an inmate is
over 70 and meets the other requirements of § 3582(c)(1)(A)(ii), or that
“extraordinary and compelling reasons warrant such a reduction,” and that
“such a reduction is consistent with the applicable policy statements issued
by the Sentencing Commission.” 18 U.S.C. § 3582(c)(1)(A). The Sentencing
Commission is authorized by 28 U.S.C § 994(a)(2) to develop general policy
statements, and more specifically, by 28 U.S.C. § 994(t) to “describe what
should be considered extraordinary and compelling reasons for sentence
reduction, including the criteria to be applied, and a list of specific examples.”

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The Sentencing Commission set forth its relevant policy statement in
U.S.S.G. § 1B1.13, which largely mirrors the statutory text of § 3582(c)(1)(A),
with one notable difference: § 1B1.13 requires that before reducing a
defendant’s term of imprisonment, the court determine that “the defendant is
not a danger to the safety of any other person or to the community, as
provided in 18 U.S.C. § 3142(g).” U.S.S.G. § 1B1.13(2). In addition,
Application Note 1 to the policy statement lists four types of circumstances
that provide “extraordinary and compelling reasons” for reducing a
defendant’s sentence:

(A) Medical Condition of the Defendant (the defendant suffers
from (i) a terminal illness or (ii) from a serious physical or
medical condition, functional or cognitive impairment, or
deteriorating health because of aging that “substantially
diminishes” the defendant’s ability to provide self-care);

(B) Age of the Defendant (the defendant is over 65, suffering a
serious deterioration in health, and has served 10 years or 75% of
his sentence);

(C) Family Circumstances (caregiver of defendant’s minor children
has died or been incapacitated, or defendant’s spouse has been
incapacitated and defendant would be the only available
caregiver); or

(D) Other Reasons (“As determined by the Director of the Bureau of
Prisons, there exists in the defendant’s case an extraordinary and

compelling reason other than, or in combination with, the reasons
described in subdivisions (A) through (C).”).

See U.S.S.G. § 1B1.13, Application Note 1. In contrast, Application Note 3

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explains that “rehabilitation of the defendant is not, by itself, an
extraordinary and compelling reason for the purposes of this policy
statement.” See U.S.S.G. § 1B1.13, Application Note 3.

B. Mr. Springer’s circumstances do not qualify as

“extraordinary or compelling reasons” warranting a
reduction.

Here, Mr. Springer seeks a reduction of his sentence to time served,
solely based upon his alleged exposure to asbestos and mold. His allegations,
however, do meet either the requirements of § 3582(c)(2)(A)(ii) or any of the
circumstances set forth as “extraordinary and compelling reasons” in the
relevant policy statement. At 54 years old, Mr. Springer does not satisfy the
age component of either § 3582(c)(2)(A)@i) or Application Note 1(B).

Mr. Springer has not shown that he is suffering from a terminal illness, a
serious physical or medical condition, or a serious functional or cognitive
impairment, or that he is experiencing deteriorating physical or mental
health that substantially diminishes his ability to provide self-care in a
correctional facility. Thus, his circumstances are not extraordinary and
compelling under Application Note 1(A). Finally, Mr. Springer does not show
any of the Family Circumstances listed in Application Note 1(C). Accordingly,
Mr. Springer fails to show extraordinary or compelling reasons under any of

the specific circumstances set forth in the Sentencing Commission’s policy

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statement.

Thus, Application Note 1(D) of the policy statement, titled “Other
Reasons,” provides the only remaining basis for finding “extraordinary and
compelling reasons” warranting a sentence reduction for Mr. Springer.
Application Note 1(D) provides that extraordinary and compelling reasons
exist if, “[a] s determined by the Director of the Bureau of Prisons, there
exists in the defendant’s case an extraordinary and compelling reason other
than, or in combination with, the reasons described in subdivisions (A)
through (C).” U.S.8.G. § 1B1.13, Application Note 1(D) (emphasis added).
Because § 3582(c)(1)(A) requires that a reduction be “consistent with
applicable policy statements issued by the Sentencing Commission,” this
Court may not reduce Mr. Springer’s sentence based on circumstances that
are not “extraordinary and compelling.”

Here, the circumstances set forth in Mr. Springer’s motion do not
constitute “extraordinary and compelling reasons” for compassionate release
As BOP officials have repeatedly explained, although asbestos was present in
the Seagoville warehouse, “the asbestos was determined to be non-friable,”
and air samples taken by two independent licensed contractors were

“negative for airborne asbestos.” (Exh. 1- Response to Request for

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Administrative Remedy dated December 26, 2018). Thus, applying OSHA’s
asbestos exposure guidelines, Warden Underwood “determined that no
exposure has taken place,” and denied Mr. Springer the administrative relief
he sought. (Id.). In response to his appeal, a BOP Regional Director further
explained that the “black mastic” found in the warehouse was 5% Chrysotile,
but due to its composition, “the only way for such material to become airborne
would be by using an aggressive method such as grinding, drilling, or
sanding,” none of which were used. (Exh. 2 Regional Administrative Remedy
Appeal No. 962199-R2 - Part B — Response dated February 22, 2019). Thus,
BOP has explicitly rejected the premise underlying Mr. Springer’s
compassionate release motion: contrary to his assertions, he has not been
exposed to asbestos.

As the Tenth Circuit has recognized, “[a] district court is authorized to
modify a Defendant’s sentence only in specified instances where Congress has
expressly granted the court jurisdiction to do so,’ so ‘a district court does not
have inherent power to resentence defendants at any time.” United States v.
Green, 405 F.3d 1180, 1184 (10th Cir. 2005), quoting United States v.
Blackwell, 81 F.3d 945, 947, 949 (10th Cir.1996). For the reasons set forth

above, Mr. Springer fails to qualify for a compassionate release sentence

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reduction under § 3582(c)(1)(A). His alleged exposure to asbestos and mold,
does not constitute an extraordinary and compelling reason to reduce his
sentence under the Sentencing Commission’s policy statement in § 1B1.13,
and cannot provide the Court with jurisdiction to do so. Therefore, the Court
must deny Mr. Springer’s motion.
Conclusion

For the reasons set forth above, the government respectfully requests

that this Court deny Mr. Springer’s motion for compassionate release.

Respectfully submitted,

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Certificate of Service

I certify that on October 29, 2019, I electronically transmitted the
foregoing to the Clerk of the Court using the ECF System for filing and that,
a true and correct copy of the foregoing was served by first-class mail, postage
prepaid, to the following who is not an ECF registrant.

Lindsey Kent Springer

Reg. #02580-063

Federal Transfer Center

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Oklahoma City, OK 73189
Defendant, Pro Se

CHARLES A. O’REIL
Special Assistant U.S; Attorney

Attachments:

Exhibit 1
Exhibit 2

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